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1                                 UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
2

3    SPENCER NEAL,                                 )      CASE NO.:
                                                   )
4                   Plaintiff,                     )      CIVIL RIGHTS
                                                   )
5
            vs.                                    )      COMPLAINT FOR INJUNCTIVE
6                                                  )      RELIEF AND DAMAGES:
     FADO COLUMBUS, LLC                            )
7    d/b/a FADO IRISH PUB,                         )      1ST CAUSE OF ACTION: For Denial of
                                                   )      Access by a Public Accommodation in
8
                    Defendant.                     )      Violation of the Americans with Disability
9                                                  )      Act of 1990 (“Title III” and “ADA”),
                                                   )      42 U.S.C. §§ 12181 et seq.
10                                                 )
                                                   )      2ND CAUSE OF ACTION: For Denial of
11
                                                   )      Access by a Public Accommodation in
12                                                 )      Violation of Ohio Revised Code 4112.02, et
                                                   )      seq.
13                                                 )
                                                   )      3RD CAUSE OF ACTION: For Denial of
14
                                                   )      Access by a Public Accommodation in
15                                                 )      Violation of Ohio Administrative Code
                                                   )      4101:1-11, et seq.
16
            Plaintiff SPENCER NEAL Complains of Defendant FADO COLUMBUS, LLC doing
17

18   business as FADO IRISH PUB (hereinafter “FADO”), and alleges as follows:

19   INTRODUCTION:
20
            1.      This is a civil rights action for discrimination against persons with physical
21
     disabilities, of which plaintiff NEAL is a member of, for failure to remove architectural barriers
22
     structural in nature at Defendant’s FADO bar and restaurant, a place of public accommodation,
23

24   thereby discriminatorily denying plaintiff access to, the full and equal enjoyment of, opportunity

25   to participate in, and benefit from, the goods, facilities, services, and accommodations thereof.
26
     NEAL seeks injunctive relief and damages pursuant to the Americans with Disability Act of
27
     1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq.; Ohio Revised Code § 4112.02, et
28
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1    seq.; and Ohio Administrative Code § 4101:1-11, et sec.
2
               2.   NEAL is a person with physical disabilities who, on or about June 3, 2019, was an
3
     invitee, guest, patron, or customer at FADO, in the City of Columbus, Ohio. At said time and
4
     place, Defendant failed to provide proper legal access to FADO, which is a public
5

6    accommodation and/or public facility. The denial of access was in violation of both federal and

7    Ohio legal requirements, and NEAL suffered violations of his civil rights to full and equal access
8
     and was embarrassed and humiliated.
9
     JURISDICTION AND VENUE:
10
               3.   Jurisdiction: This Court has jurisdiction of this action pursuant to 28 U.S.C.
11

12   §1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.

13   Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
14
     nucleus of operative facts and arising out of the same transactions, are also brought under
15
     parallel Ohio law, whose goals are closely tied with the ADA, including but not limited to
16
     violations of Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code § 4101:1-11,
17

18   et sec.

19             4.   Venue: Venue is proper in this court pursuant to 28 U.S.C. §1391(b) and is
20
     founded on the facts that the real property which is the subject of this action is located in this
21
     district at/near 4022 Townsfair Way, in the City of Columbus, County of Franklin, State of Ohio
22
     and that NEAL’s causes of action arose in this district.
23

24   PARTIES:

25             5.   NEAL is a “physically handicapped person,” a “physically disabled person,”
26
     and a “person with physical disabilities.” (Hereinafter the terms “physically disabled,”
27
     “physically handicapped” and “person with physical disabilities” are used interchangeably, as
28
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1    these words have similar or identical common usage and legal meaning.) NEAL is a “person
2
     with physical disabilities,” as defined by all applicable Ohio and United States laws. NEAL
3
     requires the use of a wheelchair to travel about in public. Consequently, NEAL is a member of
4
     that portion of the public whose rights are protected by the provisions of Ohio Revised Code §
5

6    4112.02, et seq. and Ohio Administrative Code § 4101:1-11, et sec. NEAL is a resident of

7    Columbus, Ohio.
8
            6. Defendant FADO COLUMBUS, LLC, doing business as FADO IRISH PUB, an
9
     Ohio Limited Liability Company, (hereinafter alternatively referred to as “Defendant”) is the
10
     owner and operator, lessor and/or lessee, or agents of the owners, lessors and/or lessees,
11

12   franchisor and/or franchisee, of the building and/or buildings which constitute a public facility in

13   and of itself, occupied by FADO, a public accommodation, located at/near 4022 Townsfair Way,
14
     Columbus, Ohio, and subject to the requirements of Ohio state law requiring full and equal
15
     access to public facilities pursuant to Ohio Revised Code § 4112.02, et seq., Ohio Administrative
16
     Code § 4101:1-11, et sec., and subject to the Americans with Disability Act of 1990 (“title III”
17

18   AND “ADA”), 42. U.S.C. §§ 12181 et seq., and to all other legal requirements referred to in this

19   complaint.
20
            7. At all times relevant to this complaint, Defendant is the lessee, or agent of the
21
     lessees, and/or lessors, of said premises, a public facility at/near 4022 Townsfair Way,
22
     Columbus, Ohio. The business is open to the general public and conducts business therein. The
23

24   business operates on said premises is a public accommodations subject to the requirements of

25   Ohio Revised Code § 4112.02, et seq. and Ohio Administrative Code § 4101:1-11, et sec.
26
            8. At all times relevant to this complaint, Defendant is the landlord/lessor,
27
     tenant/lessee and the owner and operator of the subject FADO, public accommodations located
28
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1    at/near 4022 Townsfair Way, Columbus, Ohio. As such, Defendant is jointly and severally
2
     responsible to identify and remove architectural barriers pursuant to Code of Federal Regulations
3
     section 36.201(b), which states in pertinent
4
     part:
5

6            § 36.201       General

7                           (b) Landlord and tenant responsibilities. Both the landlord
                            who owns the building that houses a place of public
8
                            accommodation and the tenant who owns or operates the place of
9                           public accommodation are public accommodations subject to the
                            requirements of this part. As between the parties, allocation of
10                          responsibility for complying with the obligations of this part may
                            be determined by lease or other contract.
11

12                          CFR §36.201(b)

13   PRELIMINARY FACTUAL ALLEGATIONS:
14
             9. Defendant is the entity that owns, leases (or leases to), or operates FADO, a
15
     bar and restaurant, located at/near 4022 Townsfair Way, Columbus, Ohio. FADO and each of its
16
     facilities are places “of public accommodation” subject to the requirements of the Americans
17

18   with Disability Act of 1990 (“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., Ohio

19   Revised Code § 4112.02, et seq.; and Ohio Administrative Code § 4101:1-11, et sec. On
20
     information and belief, said facility has undergone “alterations, structural repairs and additions,”
21
     each of which has subjected FADO to handicapped access requirements.
22
             10. NEAL is a person with a disability. NEAL is a “physically disabled person,”
23

24   as defined by all applicable Ohio and United States laws. NEAL is a paraplegic and requires the

25   use of a wheelchair for mobility and to travel in public.
26
             11. At all times referred to herein and continuing to the present time, Defendant
27
     advertised, publicized and held out FADO as being handicapped accessible and handicapped
28
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1    usable.
2
               12. On or about June 3, 2019, NEAL was an invitee and guest at the subject bar and
3
     restaurant, arriving for purposes of having a drink after dinner.
4
               13. Upon his arrival, during his patronizing of the public accommodations, and upon his
5

6    exit of the facility, NEAL personally encountered architectural barriers which denied him the full

7    and equal access to the property.
8
               14. Therefore, at said time and place, NEAL, a person with a disability, encountered
9
     the following inaccessible elements of the subject FADO which constituted architectural barriers
10
     and a denial of the proper and legally required access to a public accommodation to persons with
11

12   physical disabilities. By way of example and not as an exhaustive inventory of Defendant’s

13   violations, the following barriers to access were personally encountered by NEAL:
14
        a) The accessible route of travel on the walk or sidewalk at the narrow section of sidewalk
15         between the fenced patio and street contains cross slopes greater than 2% in violation of
           2010 ADAS Section 403.3, 2009 ANSI A117.1 Section 403.3, and 1991 ADAS Section
16         4.3.7.
17
        b) The entry door has a threshold with a vertical change greater than ¼” high in violation
18         of 2010 ADAS Section 404.2.5, 2009 ANSI A117.1 Section 404.2.4, and 1991 ADAS
           Section 4.13.8.
19
        c) There exists no accessible seating at the bar in violation of 2010 ADAS Section 226.1 and
20
           1991 ADAS Section 5.1.
21
        d) There exists no accessible seating at any of the dining tables in violation of 2010 ADAS
22         Section 226.1 and 1991 ADAS Section 5.1.
        e) Throughout the dining area, compliant knee clearance is not provided at the dining
23
           tables in violation of 2010 ADAS Section 306.3.3, 2009 ANSI A117.1 Section 306.3.1,
24         306.3.2, and 1991 ADAS Section 4.32.3.

25      f) The high top bistro tables are greater than 34” above the floor in violation of 2010 ADAS
           Section 902.3, 2009 ANSI A117.1 Section 902.4, and 1991 ADAS Section 4.32.4.
26

27      g) The knee and toe clearance at the outdoor dining tables are not compliant because of the
           table base configuration in violation of 2010 ADAS Section 306.2.1, 2009 ANSI A117.1
28         Section 306.2.1, and 1991 ADAS Section 4.32.3.
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1
        h) The spacing of the outside tables and chairs does not allow a 36” wide accessible route
2
           to the amenities in violation of 2010 ADAS Section 226.1 and 1991 ADAS Section 5.1.
3
        i) The men’s restroom wall sign is incorrectly located in violation of 2010 ADAS Section
4          703.4.1 and 2009 ANSI A117.1 Section 703.3.10.
5
        j) The men’s restroom door exceeds the maximum pressure to open the door in violation of
6          2010 ADAS Section 404.2.9, 2009 ANSI A117.1 Section 404.2.8, and 1991 ADAS Section
           4.13.11(1).
7
        k) Inside the men’s restroom, the accessible stall door is not self-closing in violation of
8
           2010 ADAS Section 604.8.1.2 and 2009 ANSI A117.1 Section 604.9.3.
9
        l) Inside the men’s restroom, the accessible stall door is missing a loop handle on both
10         sides of the door in violation of 2010 ADAS Section 604.8.1.2, 2009 ANSI A117.1 Section
           604.10.3, and 1991 ADAS Section 4.13.9.
11

12      m) Inside the men’s restroom, the toilet paper dispenser within the accessible stall is not
           installed within the compliant range in violation of 2010 ADAS Section 604.7.
13
        n) Inside the men’s restroom, the urinal is located in an area that does not provide the
14
           required clear floor space for a front approach in violation of 2010 ADAS Section 605.3,
15         2009 ANSI A117.1 Section 605.3, and 1991 ADAS Section 4.18.3.

16      o) Inside the men’s restroom, the water and drain pipes under the lavatory are not
           adequately insulated in violation of 2010 ADAS Section 606.5, 2009 ANSI A117.1 Section
17
           606.6, and 1991 ADAS Section 4.19.4.
18
        p) Inside the men’s restroom, the paper towel motion sensor is 49” above the floor in
19         violation of 2010 ADAS Section 308.2.1 and 2009 ANSI A117.1 Section 308.2.1.
20

21   On personal knowledge, information and belief, other public facilities and elements too

22   numerous to list were improperly inaccessible for use by persons with physical disabilities.
23
            15. The discriminatory violations described in ¶ 14 are not an exclusive list of the
24
     Defendant’s violations. NEAL requires the inspection of the Defendant’s place of public
25
     accommodation in order to photograph and measure all of the discriminatory acts violating the
26

27   Americans with Disability Act of 1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq.,

28   Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §4101:1-11, et sec.
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1            16. At all times stated herein, the existence of architectural barriers at Defendant’s
2
     place of public accommodation evidenced “actual notice” of Defendant’s intent not to comply
3
     with the Americans with Disability Act of 1990 (“title III” and “ADA”), 42. U.S.C. §§ 12181 et
4
     seq., Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §4101:1-11, et sec.
5

6    either then, now or in the future.

7            17. As a legal result of Defendant’s failure to act as a reasonable and prudent public
8
     accommodation in identifying, removing or creating architectural barriers, policies, practices and
9
     procedures that denied access to NEAL and other persons with disabilities, NEAL suffered
10
     damages as alleged herein.
11

12           18. As a further legal result of the actions and failure to act of Defendant, and as a

13   legal result of the failure to provide proper handicapped-accessible public facilities as set forth
14
     herein, NEAL was denied his civil rights to full and equal access to public facilities. NEAL
15
     suffered a loss of his civil rights and his rights as a person with physical disabilities to full and
16
     equal access to public facilities, and further suffered from injury, shame, humiliation,
17

18   embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated

19   with a person with physical disabilities being denied access, all to his damages as prayed
20
     hereinafter in an amount within the jurisdiction of this court.
21
             19. NEAL is “physically handicapped,” “physically disabled,” or a “person with
22
     physical disabilities” who was denied his rights to equal access to a public facility by Defendant.
23

24   Defendant maintained a public establishment without access for persons with physical

25   disabilities as stated herein, and continue as of the date of filing this complaint to deny equal
26
     access to NEAL and other persons with physical disabilities in these and other ways.
27
             20. On information and belief, construction alterations carried out by Defendant have
28
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1    triggered access requirements under Americans with Disability Act of 1990 (“TITLE III” AND
2
     “ADA”), 42. U.S.C. §§ 12181 et seq., Ohio Revised Code § 4112.02, et seq.; and Ohio
3
     Administrative Code §4101:1-11, et sec.
4
             21. NEAL, as described herein below, seeks injunctive relief to require FADO
5

6    to be made accessible to meet the requirements of both Ohio law and the Americans with

7    Disabilities Act, whichever is more restrictive, so long as Defendant operates and/or leases
8
     FADO as a public facility. NEAL seeks damages for violation of his civil rights, from June 3,
9
     2019 until such date as Defendant brings the establishments into full compliance with the
10
     requirements of Ohio and federal law.
11

12           22. On information and belief, Defendant has been negligent in its affirmative duty

13   to identify the architectural barriers complained of herein and negligent in the removal of some
14
     or all of said barriers.
15
             23. Because of Defendant’s violations, NEAL and other persons with physical
16
     disabilities are unable to use public facilities such as those owned and operated by Defendant on
17

18   a “full and equal” basis unless such facility is in compliance with the provisions of the

19   Americans with Disabilities Act and other accessibility law as plead herein. NEAL seeks an
20
     order from this court compelling Defendant to make FADO accessible to persons with
21
     disabilities.
22
             24. On information and belief, Defendant has intentionally undertaken to modify and
23

24   alter existing building(s), and have failed to make them comply with accessibility requirements.

25   The acts and omissions of Defendant in failing to provide the required accessible public facilities
26
     at the time of NEAL’s visit and injuries, indicate actual and implied malice towards NEAL, and
27
     despicable conduct carried out by Defendant with a willful and conscious disregard for the rights
28
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1    and safety of NEAL and other similarly situated persons, and justify punitive damages pursuant
2
     to Ohio Revised Code § 2315.21, in amounts sufficient to make a more profound example of
3
     Defendant to other operators of other establishment and other public facilities, and to punish
4
     Defendant and to carry out the purposes of § 2315.21.
5

6           25. NEAL is informed and believes and therefore alleges that Defendant caused the

7    subject facility to be constructed, altered and maintained in such a manner that persons with
8
     physical disabilities were denied full and equal access to, within and throughout said building of
9
     Defendant and were denied full and equal use of said public facilities. Further, on information
10
     and belief, Defendant has continued to maintain and operate said facilities in such conditions up
11

12   to the present time, despite actual and constructive notice to such Defendant that the

13   configuration of the establishment and/or its building(s) is in violation of the civil rights of
14
     persons with physical disabilities, such as NEAL and the disability community. Such
15
     construction, modification, ownership, operation, maintenance and practices of such public
16
     facilities are in violation of law as stated in Americans with Disability Act of 1990 (“TITLE III”
17

18   AND “ADA”), 42. U.S.C. §§ 12181 et seq. and elsewhere in the laws of Ohio.

19          26. On information and belief, the subject public facilities and building(s) of
20
     FADO denied full and equal access to NEAL and other persons with physical disabilities in other
21
     respects due to noncompliance with requirements of Ohio Revised Code § 4112.02, et seq.; and
22
     Ohio Administrative Code §4101:1-11, et sec.
23

24          27. On personal knowledge, information and belief, the basis of Defendant’s actual

25   and constructive notice that the physical configuration of the facilities including, but not limited
26
     to, architectural barriers constituting FADO was in violation of the civil rights of persons with
27
     physical disabilities, such as NEAL, includes, but is not limited to, communications with invitees
28
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1    and guests, owners of other establishments and businesses, notices Defendant obtained from
2
     governmental agencies upon modification, improvement, or substantial repair of the subject
3
     premises and other properties owned by this Defendant, newspaper articles and trade
4
     publications regarding the Americans with Disabilities Act and other access laws, public service
5

6    announcements, and other similar information. Defendant’s failure, under state and federal law,

7    to make the establishment accessible is further evidence of Defendant’s conscious disregard for
8
     the rights of NEAL and other similarly situated persons with disabilities. The scope and means of
9
     the knowledge of Defendant are within Defendant’s exclusive control and cannot be ascertained
10
     except through discovery. Despite being informed of such effect on NEAL and other persons
11

12   with physical disabilities due to the lack of accessible facilities, Defendant knowingly and

13   willfully refused to take any steps to rectify the situation and to provide full and equal access for
14
     NEAL and other persons with physical disabilities to the establishment. Said Defendant has
15
     continued such practices, in conscious disregard for the rights of NEAL and other persons with
16
     physical disabilities, up to the date of filing of this complaint, and continuing thereon. Defendant
17

18   has further actual knowledge of the architectural barriers referred to herein by virtue of the

19   Notice addressed to the Defendant, which is discussed below. Said conduct, with knowledge of
20
     the effect it was and is having on NEAL and other persons with physical disabilities, constitutes
21
     despicable conduct in conscious disregard of the rights and safety of NEAL and of other
22
     similarly situated persons, justifying the imposition of punitive damages.
23

24          28. Punitive Damages -- Defendant, at times prior to and including June 3, 2019

25   and continuing to the present time, knew that persons with physical disabilities were denied their
26
     rights of equal access to all portions of this public facility. Despite such knowledge, Defendant
27
     failed and refused to take steps to comply with the applicable access statutes; and despite
28
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1    knowledge of the resulting problems and denial of civil rights thereby suffered by NEAL and
2
     other similarly situated persons with disabilities, including the specific notices referred to in
3
     paragraph 27 of this complaint. Defendant has failed and refused to take action to grant full and
4
     equal access to persons with physical disabilities in the respects complained of hereinabove.
5

6    Defendant has carried out a course of conduct of refusing to respond to, or correct complaints

7    about, denial of handicap access and has refused to comply with its legal obligations to make
8
     FADO accessible pursuant to the Americans with Disabilities Act and Ohio law. Such actions
9
     and continuing course of conduct by Defendant evidence despicable conduct in conscious
10
     disregard for the rights or safety of NEAL and of other similarly situated persons, justifying an
11

12   award of punitive damages.

13          29. Defendant’s actions have also been oppressive to persons with physical
14
     disabilities and of other members of the public, and have evidenced actual or implied malicious
15
     intent toward those members of the public, such as NEAL and other persons with physical
16
     disabilities who have been denied the proper access they are entitled to by law. Further,
17

18   Defendant’s refusals on a day-to-day basis to remove the barriers complained of herein evidence

19   despicable conduct in conscious disregard for the rights of NEAL and other members of the
20
     public with physical disabilities.
21
            30. NEAL prays for an award of punitive damages against Defendant in an amount
22
     sufficient to make a more profound example of Defendant and discourage owners and operators
23

24   of other establishments, and other public facilities, from willful disregard of the rights of persons

25   with physical disabilities. Plaintiff does not know the financial worth of Defendant and seeks
26
     leave to amend this complaint when such facts are known.
27
            31. NEAL will return to FADO, because he enjoys the drinks and atmosphere there,
28
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1    including the Irish theme, if FADO is made fully accessible to a disabled person in a wheelchair,
2
     and to also avail himself of the bar and restaurant’s services. Furthermore, NEAL intends to
3
     return to FADO as an ADA tester to ascertain whether Defendant removed the barriers to access
4
     which are the subject of this litigation.
5

6    I.      FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A PUBLIC
             ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
7            DISABILITIES ACT OF 1990 (42 U.S.C. §12101, et seq.)
8
             32.     NEAL pleads and incorporate by reference, as if fully set forth again herein,
9
     the allegations contained in paragraphs 1 through 31 of this complaint.
10
             33.     Pursuant to law, in 1990, the United States Congress made findings per 42 U.S.C.
11

12   §12101 regarding persons with physical disabilities, finding that laws were needed to more fully

13   protect:
14
                     some 43 million Americans with one or more physical or mental
15                   disabilities; [that] historically society has tended to isolate and
                     segregate individuals with disabilities; [that] such forms of
16                   discrimination against individuals with disabilities continue to be a
                     serious and pervasive social problem; [that] the nation’s proper
17
                     goals regarding individuals with disabilities are to assure equality
18                   of opportunity, full participation, independent living and economic
                     self-sufficiency for such individuals; [and that] the continuing
19                   existence of unfair and unnecessary discrimination and prejudice
                     denies people with disabilities the opportunity to compete on an
20
                     equal basis and to pursue those opportunities for which our free
21                   society is justifiably famous.

22           34.     Congress stated as its purpose in passing the Americans with Disabilities Act of
23
     1990 (42 U.S.C. §12102):
24
                     It is the purpose of this act (1) to provide a clear and
25                   comprehensive national mandate for the elimination of
                     discrimination against individuals with disabilities; (2) to provide
26
                     clear, strong, consistent, enforceable standards addressing
27                   discrimination against individuals with disabilities; (3) to ensure
                     that the Federal government plays a central role in enforcing the
28                   standards established in this act on behalf of individuals with
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1                   disabilities; and (4) to invoke the sweep of Congressional
                    authority, including the power to enforce the 14th Amendment and
2
                    to regulate commerce, in order to address the major areas of
3                   discrimination faced day to day by people with disabilities.

4           35.     As part of the Americans with Disabilities Act of 1990, (hereinafter the “ADA”),
5
     Congress passed “Title III - Public Accommodations and Services Operated by Private Entities”
6
     (Section 301 42 U.S.C. §12181, et seq.). Among the public accommodations identified for
7
     purposes of this title was:
8

9                   (7) PUBLIC ACCOMMODATION - The following private
                    entities are considered public accommodations for purposes of this
10                  title, if the operations of such entities affect commerce -
                    ...
11
                    (B) an entertainment facility, bar, or other establishment serving food or drink;
12
                    42 .S.C. §12181(7)(B).
13
            36.     Pursuant to §302, 42 U.S.C. §12182, “No individual shall be discriminated
14

15   against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

16   privileges, advantages, or accommodations of any place of public accommodation by any person
17
     who owns, leases, or leases to, or operates a place of public accommodation.”
18
            37.     The specific prohibitions against discrimination set forth in §302(b)(2)(a),
19
     42 U.S.C. §12182(b)(2)(a) are:
20

21                  (i) the imposition or application of eligibility criteria
                    that screen out or tend to screen out an individual with a disability
22                  or any class of individuals with disabilities from fully and equally
                    enjoying any goods, services, facilities, privileges, advantages, or
23
                    accommodations, unless such criteria can be shown to be
24                  necessary for the provision of the goods, services, facilities,
                    privileges, advantages, or accommodations being offered;
25
                    (ii) a failure to make reasonable modifications in
26
                    policies, practices, or procedures, when such modifications are
27                  necessary to afford such goods, services, facilities, privileges,
                    advantages or accommodations to individuals with disabilities,
28                  unless the entity can demonstrate that making such modifications
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1                   would fundamentally alter the nature of such goods, services,
                    facilities, privileges, advantages, or accommodations;
2

3                   (iii) a failure to take such steps as may be necessary to
                    ensure that no individual with a disability is excluded, denied
4                   services, segregated or otherwise treated differently than other
                    individuals because of the absence of auxiliary aids and services,
5
                    unless the entity can demonstrate that taking such steps would
6                   fundamentally alter the nature of the good, service, facility,
                    privilege, advantage, or accommodation being offered or would
7                   result in an undue burden;
8
                    (iv) a failure to remove architectural barriers, and
9                   communication barriers that are structural in nature, in existing
                    facilities . . . where such removal is readily achievable; and
10
                    (v) where an entity can demonstrate that the removal of
11
                    a barrier under clause (iv) is not readily achievable, a failure to
12                  make such goods, services, facilities, privileges, advantages or
                    accommodations available through alternative methods if such
13                  methods are readily achievable.
14
     The acts of Defendant set forth herein were a violation of NEAL’s rights under the ADA, 42.
15
     U.S.C. §§ 12181 et seq.; Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §
16
     4101:1-11, et sec., making available damage remedies.
17

18          38.     The removal of the barriers complained of by NEAL as hereinabove alleged

19   was at all times after January 26, 1992, making compliance with the ADA mandatory.
20
     Construction work on, and modifications of, the subject building(s) of FADO occurred after the
21
     compliance date for the Americans with Disabilities Act, January 26, 1992, independently
22
     triggering access requirements under Title III of the ADA.
23

24          39.     Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12188, et

25   seq., §308, NEAL is entitled to the remedies and procedures set forth in §204(a) of the Civil
26
     Rights Act of 1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to discrimination on
27
     the basis of disability in violation of this title or have reasonable grounds for believing that
28
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1    he is about to be subjected to discrimination in violation of §302. NEAL cannot return to or
2
     make use of the public facilities complained of herein so long as the premises and Defendant’s
3
     policies bar full and equal use by persons with physical disabilities.
4
             40.     Per §308(a)(1) (42 U.S.C. 12188), “Nothing in this section shall require a person
5

6    with a disability to engage in a futile gesture if such person has actual notice that a person or

7    organization covered by this title does not intend to comply with its provisions.” Pursuant to this
8
     last section, NEAL has not returned to Defendant’s premises since on or about June 3, 2019, but
9
     on information and belief, alleges that Defendant has continued to violate the law and deny the
10
     rights of plaintiff and of other persons with physical disabilities to access this public
11

12   accommodation. Pursuant to §308(a)(2), “In cases of violations of §302(b)(2)(A)(iv) . . .

13   injunctive relief shall include an order to alter facilities to make such facilities readily accessible
14
     to and usable by individuals with disabilities to the extent required by this title.”
15
             41.     NEAL seeks relief pursuant to remedies set forth in §204(a) of the Civil
16
     Rights Act of 1964 (42 U.S.C. 2000(a)-3(a)), and pursuant to federal regulations adopted to
17

18   implement the Americans with Disabilities Act of 1990, including but not limited to an order

19   granting injunctive relief and attorneys’ fees. NEAL will seek attorneys’ fees conditioned upon
20
     being deemed to be the prevailing party.
21
             42.     NEAL seeks damages pursuant to Ohio Revised Code § 4112.02, et seq. and Ohio
22
     Administrative Code § 4101:1-11, et sec., which provide, within the statutory scheme, that a
23

24   violation of the ADA and/or Ohio’s accessibility standards is a violation of Ohio law.

25           Wherefore, plaintiff prays for relief and damages as hereinafter stated.
26
     II.     SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
27           IN VIOLATION OF OHIO REVISED CODE § 4112.02, et seq.

28           43.     Plaintiff repleads and incorporates by reference as if fully set forth again herein,
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1    the allegations contained in paragraphs 1 through 42 of this complaint.
2
            44.     At all times relevant to this action, Ohio Revised Code § 4112.0254 has provided
3
     that persons with physical disabilities are not to be discriminated against because of physical
4
     handicap or disability. This section provides that:
5

6                   It shall be an unlawful discriminatory practice:

7                   (G)     For any proprietor or any employee, keeper, or manager of a place of
                            public accommodation to deny to any person, except for reasons
8
                            applicable alike to all persons regardless of race, color, religion, sex,
9                           military status, national origin, disability, age, or ancestry, the full
                            enjoyment of the accommodations, advantages, facilities, or privileges of
10                          the place of public accommodation.
11
            45.     FADO is a place of public accommodation pursuant to Ohio Revised Code §
12
     4112.01(A)(9).
13
            46.     Defendant committed an unlawful act pursuant to Ohio Revised Code §
14

15   4112.02(G) by denying NEAL the full enjoyment of its accommodations, advantages, facilities,

16   or privileges, whereas, NEAL had great difficulty due to extensive barriers for patrons confined
17
     to wheelchairs.
18
            47.     Pursuant to Ohio Revised Code § 4112.99, NEAL is entitled to compensatory
19
     and punitive damages, and attorney fees and costs, in an amount to be determined at trial, but in
20

21   any event not less than $25,000.00, as well as issuance of an injunction requiring defendant to

22   allow full and equal enjoyment of its goods, services, facilities, privileges, and advantages to
23
     disabled persons.
24
            48.     A separate act in violation of Ohio Revised Code § 4112.02(G) has been
25
     committed each day that Defendant act or fail to act and/or knowingly and willfully fails and
26

27   refuse to remove each architectural barrier or policy and procedure barrier presently existing at

28   the subject public accommodation which denies full and equal access for persons with physical
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1    disabilities to said building(s), elements and facilities of FADO. NEAL has been denied full and
2
     equal access on an ongoing basis since the date of his first visit. As a legal result, NEAL is
3
     entitled to seek appropriate relief, such as damages, pursuant to Ohio Revised Code § 4112.99.
4
            49.     On or about June 3, 2019, NEAL suffered violations of Ohio Revised
5

6    Code § 4112.02(G) in that NEAL was denied access to the facilities as stated herein at FADO

7    and on the basis that NEAL was a person with physical disabilities.
8
            50.     As a result of the denial of equal access to Defendant’s facilities due to the acts
9
     and omissions of Defendant in owning, operating and maintaining these subject public facilities,
10
     NEAL suffered violations of his civil rights, as well as suffering from shame, humiliation,
11

12   embarrassment, frustration, anger, chagrin, disappointment and worry, all of which are

13   expectedly and naturally associated with a denial of access to a person with physical disabilities,
14
     all to plaintiff’s damages as hereinafter stated.
15
            51.     NEAL has been damaged by Defendant’s wrongful conduct and seeks the
16
     relief that is afforded by Ohio Revised Code § 4112 for violation of his rights as a person,
17

18   including statutory damages according to proof.

19          52.     As a result of Defendant’s acts and omissions in this regard, NEAL has been
20
     required to incur legal expenses and hire attorneys in order to enforce his rights and
21
     enforce the provisions of the law protecting access for persons with physical disabilities and
22
     prohibiting discrimination against persons with physical disabilities. Pursuant to the provisions
23

24   of Ohio Revised Code § 4112, NEAL therefore will seek recovery in this lawsuit for all

25   reasonable attorneys’ fees and costs incurred if deemed the prevailing party.
26
            Wherefore, plaintiff prays for relief and damages as hereinafter stated.
27
     III.   THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
28          IN VIOLATION OF OHIO ADMINISTRATIVE CODE § 4101:1-11, et seq.
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1
             53.     NEAL repleads and incorporates by reference as if fully set forth again herein, the
2

3    allegations contained in paragraphs 1 through 53 of this complaint.

4            54.     Ohio Administrative Code (hereinafter “O.A.C.”) § 4101:1-11 controls the design
5
     and construction of facilities for accessibility for individuals with disabilities.
6
             55.     Sites, buildings, structures, facilities, elements and spaces, temporary or
7
     permanent, shall be accessible to individuals with disabilities. O.A.C. § 1103.1.
8

9            56.     FADO, being a site, building, structure, facility, element or space, committed an

10   unlawful act pursuant to O.A.C. §§ 1104.1 and 1109.1 by failing to make accessible its spaces,
11
     including but not limited to, its restrooms.
12
             57.     FADO committed an unlawful act pursuant to O.A.C. § 1108.1 by failing to
13
     provide accessible seating in its dining areas.
14

15           58.     Defendant’s violations denied NEAL full enjoyment of its accommodations,

16   advantages, facilities, or privileges, whereas, NEAL had difficulty entering the property due to
17
     extensive barriers for patrons confined to wheelchairs on the accessible route.
18
      59.            As a result of these violations, NEAL is entitled to compensatory and punitive
19
      damages, and attorney fees and costs, in an amount to be determined at trial, but in any event
20

21    not less than $25,000.00, as well as issuance of an injunction requiring Defendant to allow full

22    and equal enjoyment of its goods, services, facilities, privileges, and advantages to disabled
23
      persons.
24
             60.     A separate act in violation of Ohio Administrative Code § 4101:1-11, et seq. has
25
     been committed each day that Defendant act or fail to act and/or knowingly and willfully
26

27   fail and refuse to make accessible its site for physically disabled persons presently existing at the

28   subject FADO. NEAL has been denied full and equal access on an ongoing basis since the date
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1    of his first visit. As a legal result, NEAL is entitled to seek appropriate relief, such as damages.
2
            61.     As a result of Defendant’s accessibility violations, NEAL suffered violations of
3
     his civil rights, as well as suffering from injury, shame, humiliation, embarrassment, frustration,
4
     anger, chagrin, disappointment and worry, all of which are expectedly and naturally associated
5

6    with a denial of access to a person with physical disabilities, all to plaintiff’s damages as

7    hereinafter stated.
8
            62.     NEAL has been damaged by Defendant’s wrongful conduct and seeks relief
9
     for violation of the O.A.C., including actual and special damages according to proof.
10
            63.     As a result of Defendant’s acts and omissions in this regard, NEAL has been
11

12   required to incur legal expenses and hire attorneys in order to enforce plaintiff’s rights and

13   enforce the provisions of the law protecting access for persons with physical disabilities and
14
     prohibiting discrimination against persons with physical disabilities. NEAL therefore will seek
15
     recovery in this lawsuit for all reasonable attorneys’ fees and costs incurred if deemed the
16
     prevailing party.
17

18          Wherefore, Plaintiff SPENCER NEAL prays for relief and damages as hereinafter stated.

19   O.R.C. 4112.16 NOTICE OF VIOLATION OF ACCESSIBILITY LAW
20
            64.     Pursuant to O.R.C. 4112.16 Notice of Violation of Accessibility Law, prior to
21
     filing a civil action alleging violation of State of Ohio accessibility law, the alleged aggrieved
22
     party may notify the owner, agent, or other responsible party, by personal service or by certified
23

24   mail, of alleged accessibility law violations. On June 19, 2019, Plaintiff served upon Defendant’s

25   statutory agent a Notice of Violation of Accessibility Law pursuant to O.R.C. 4112.16.
26
     Defendant’s statutory response deadline in which to serve Plaintiff with its response was July 11,
27
     2019. Defendant failed to serve a response upon Plaintiff or his counsel within 15 days of
28
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1    receiving the O.R.C. 4112.16 Notice. Due to Defendant’s failure to respond in accordance with
2
     the statute, Plaintiff may commence his lawsuit for violations of State of Ohio accessibility laws.
3
     Due to Defendant’s failure to respond in accordance with the statute, Plaintiff, if deemed the
4
     prevailing party, shall recover reasonable attorney’s fees, in addition to any other remedies
5

6    available to the plaintiff.

7              Wherefore, Plaintiff SPENCER MORTLAND prays for relief and damages as hereinafter
8
     stated.
9
     PRAYER:
10
               Wherefore, NEAL prays that this court grant relief and damages as follows:
11

12   I.        PRAYER FOR FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A
               PUBLIC ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
13             DISABILITIES ACT OF 1990 (42 U.S.C. §1 2101, et seq.)
14
               1.     For injunctive relief, compelling Defendant to make FADO Chili restaurant and
15
     the Shoppes on Olentangy shopping center readily accessible to and usable by individuals with
16
     disabilities; and to make reasonable modifications in policies, practice, eligibility criteria and
17

18   procedures so as to afford full access to the goods, services, facilities, privileges, advantages and

19   accommodations being offered.
20
               2.     For attorneys’ fees, litigation expenses and costs of suit, if NEAL is deemed
21
     the prevailing party; and
22
               3.     For such other and further relief as the court may deem proper.
23

24   I.        PRAYER FOR SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND
               EQUAL ACCESS IN VIOLATION OF OHIO REVISED CODE § 4112.02, et
25             seq.
26
               4.     For injunctive relief, compelling Defendant to make FADO Chili restaurant and
27
     the Shoppes on Olentangy shopping center readily accessible to and usable by individuals with
28
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1    disabilities, per state law.
2
             5.      General and compensatory damages according to proof;
3
             6.      All damages for each day, from the inception of the filing of this complaint, on
4
     which Defendant have failed to remove barriers which denied NEAL and other persons
5

6    with disabilities full and equal access.

7            7.      Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if NEAL is
8
     deemed the prevailing party;
9
             8.      Punitive damages, pursuant to Ohio Revised Code § 2315.21;
10
             9.      For all costs of suit;
11

12           10.     Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);

13           11.     Such other and further relief as the court may deem just and proper.
14
     III.    PRAYER FOR THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND
15           EQUAL ACCESS IN VIOLATION OF OHIO ADMINISTRATIVE CODE §
             4101:1-11, et seq.
16
             12.     For injunctive relief, compelling Defendant to make FADO Chili restaurant and
17

18   the Shoppes on Olentangy shopping center readily accessible to and usable by individuals with

19   disabilities, per state law.
20
             13.     General and compensatory damages according to proof;
21
             14.     All damages for each day, from the inception of the filing of this complaint, on
22
     which Defendant have failed to remove barriers which denied NEAL and other persons
23

24   with disabilities full and equal access.

25           15.     Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if NEAL is
26
     deemed the prevailing party;
27
             16.     Punitive damages, pursuant to Ohio Revised Code § 2315.21;
28
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1          17.   For all costs of suit;
2
           18.   Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);
3
           19.   Such other and further relief as the court may deem just and proper.
4

5
                                          Respectfully submitted,
6
                                          BLAKEMORE, MEEKER & BOWLER CO., L.P.A.
7
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     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 22
